Case 2:04-cr-20049-SH|\/| Document 125 Filed 06/23/05 Page 1 of 2 Page|D 155

IN THE UNlTED STATES DISTRlCT COURT F=n_;=_-Q *,\=,» m
FOR THE WESTERN DISTRICT OF TENNESSEE

 

WESTERN DIVISION 95 JUF\’ 23 PH 31 14 .
RQE;..-;m r»: -.- 1
* Qa.f'zm<. u,S.LI'J§e':’.{`“L'§HQ
UNITED STATES OF AMERICA, W-D. OF “rw, M:;-'-:v:Ps-ns'
*
Plainriff,
*
vS_ NO. 04-20049-Ma
>l<
TEMEIKA MICKENS,
*
Defendant.

ORDER GRANTING GOVERNMENT'S MOTION TO DISMISS lNDICTMENT
lt is hereby ORDERED that the Govemment'S Motion T0 Dismiss lndictrnent in the above-
entitled and numbered criminal case as to TEMEIKA MICKENS is hereby GRANTED.

DONE at Memphis, Telmessee, this away ofMOOS.

 

_j//y/w/zm.`

UNITED STATES DISTRICT JUDGE

 

acumen ama

\'TY\\S d 55 et\`GIO' 3 '\-

wwr\ FW\B

\\\a.-z\
. ~;¢"‘"\ C'U-`\ 'd
me docket§:/L_:L/M
d on »
a m F\’\C‘P °“

C,\'i

 

Notice of Distribution

This notice confirms a copy ofthc document docketed as number 125 in
case 2:04-CR-20049 Was distributed by faX, mail, or direct printing on
June 24, 2005 to the parties listcd.

 

 

Mary Catherine Jermann
FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

1\/1emphis7 TN 38103

Steffen G. Schreiner

LAW OFFICE OF STEFFEN G. SCHREINER
369 N. Main

1\/1emphis7 TN 38103

Jacob E. Erwin
WAGERMAN LAW FIRM
200 Jefferson Avenue

Ste. 13 13

1\/1emphis7 TN 38103

Leonard E. Lucas

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/1emphis7 TN 38103

Honorable Sarnuel Mays
US DISTRICT COURT

